                 Case 19-11626-KG             Doc 266        Filed 08/27/19         Page 1 of 2



                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                                 ) Chapter 11

PES HOLDINGS,LLC, et al.,l                                             ) Case No. 19-11626(KG)

                                   Debtors.                            ) (Jointly Administered)



           NOTICE OF RESCHEDULED HEARING FROM OCTOBER 15,2Q19 AT
                  i~:~iu A.T. ~EaS'~~R1~T iliViEj T(~ ~~T~I3~~ iS, 2fl19 A~
         10.00 A M (EASTERN TIME)BEFORE THE HONORA~3LE KEVIN GROSS

                 PLEASE TAKE NOTICE that all matters scheduled to be heard in the above-

captioned cases on October 15, 2019, at 10:00 a.m.(Eastern time) have been rescheduled by the

Court, for a hearing on October 18, 2019, at 10:00 a.m.(Eastern time), before the Honorable

Kevin Gross at the United States Bankruptcy Court for the District of Delaware, 824 N. Market

Street, 6th Floor, Courtroom 3, Wilmington, D~ 19801.




    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
    number, are: PES Holdings, LLC (8157); North Yard GP, LLC (5458); North Yard Logistics, L.P.(5952); PES
    Administrative Services, LLC (3022); PES Energy Inc. (0661); PES Intermediate, LLC (0074); PES Ultimate
    Holdings, LLC (6061); and Philadelphia Energy Solutions Refining and Marketing LLC (9574). The Debtors'
    service address is: 1735 Market Street, Philadelphia, Pennsylvania 19103.


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                 Case 19-11626-KG   Doc 266       Filed 08/27/19   Page 2 of 2




Dated: August 27,2019           /s/Peter J. Keane
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